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                       IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF IDAHO

WILLIAM ROSS,                                  )
                                               )
       Plaintiff,                              )
                                               )
       v.                                      )      Case No. 1:20-cv-00527-DCN
                                               )
GREEN SQUARE COMPANY, LLC,                     )
                                               )
       Defendant.                              )


                          MOTION FOR DEFAULT JUDGMENT

       NOW COMES Plaintiff, WILLIAM ROSS (“Plaintiff”), by and through his counsel,

pursuant to Fed. R. Civ. P. 55(b)(2), and moves this Court for entry of default judgment against

Defendant, GREEN SQUARE COMPANY, LLC (“Defendant”), and in support thereof, states as

follows:

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                                        BACKGROUND

1. On November 18, 2020, Plaintiff filed a civil action against Defendant seeking redress for

   violations of the Fair Debt Collection Practices Act (“FDCPA”), 15 U.S.C. § 1692, et seq.

   and the Idaho Consumer Protection Act, Idaho Code § 48-601 (“ICPA”). (Doc. No. 1).

2. On November 20, 2020, Defendant was served with the Summons and Complaint.

   (Doc. No. 3).

3. Defendant failed to (1) appear and/or (2) serve upon Counsel for Plaintiff an answer or

   responsive pleading to Plaintiff’s Complaint on or before December 11, 2020.

4. On December 15, 2020, Plaintiff filed a Request for Entry of Default against Defendants.

   (Doc. No. 4).

5. On January 7, 2021, the Clerk of the Court entered default against Defendant for failure to

   appear or otherwise respond to Plaintiff’s Complaint. (Doc. No. 6).

                                  LEGAL STANDARD

6. Federal Rule of Civil Procedure 55 authorizes courts to enter a default judgment as to any

   party that “fail[s] to plead or otherwise defend.” Fed. R. Civ. P. 55(a)-(b)(2). The Ninth

   Circuit has enumerated the following factors that a court may consider in determining

   whether to grant default judgment: (1) the merits of the plaintiff’s substantive claim; (2)

   the sufficiency of the complaint; (3) the sum of money at stake in the action; (4) the

   possibility of prejudice to the plaintiff; (5) the possibility of a dispute concerning material

   facts; (6) whether the default was due to excusable neglect; and (7) the strong policy

   underlying the Federal Rules of Civil Procedure favoring decision on the merits. PepsiCo,

   Inc. v. Cal Sec. Cans, 238 F. Supp.2d 1172, 1175 (C.D. Cal. 2002); citing Eitel v. McCool,

   782 F.2d 1470, 1471–72 (9th Cir. 1986). As discussed below, the Eitel factors support



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   granting default judgment against Defendant.

 PLAINTIFF’S COMPLAINT STATES A VIABLE AND STRONG CLAIM FOR
                           RELIEF

7. The first two Eitel factors are (1) the merits of the plaintiff’s substantive claim; and (2) the

   sufficiency of the complaint. Eitel v. McCool, 782 F. 2d at 1471-72. The Ninth circuit has

   stated that these two factors require that a Plaintiff “state a claim on which the [plaintiff]

   may recover.” Kloepping v. Fireman’s Fund, 1996 WL 75314, at *2 (N.D. Cal. Feb.13,

   1996) (citing Danning v. Lavine, 572 F.2d 1386, 1388 (9th Cir. 1978).

8. Here, Plaintiff’s Complaint alleges the following: Defendant is attempting to collect an

   alleged consumer debt from Plaintiff originating with an Idaho Title Loans account. (Doc.

   No. 1, ¶ 21); Plaintiff’s alleged debt at issue arises from transactions for personal, family,

   and household purposes. (Doc. No. 1, ¶ 22); In or around August 2020, Defendant began

   placing calls to Plaintiff on his cellular telephone at 951-294-4882, in an attempt to collect

   the alleged debt. (Doc. No. 1, ¶ 23); Defendant calls Plaintiff from 800-918-3157, which

   is one of Defendant’s telephone numbers. (Doc. No. 1, ¶ 24); In or around August 2020,

   Plaintiff answered a collection call from Defendant. (Doc. No. 1, ¶ 25); During the above-

   referenced conversation: Plaintiff spoke with one of Defendant’s collectors Mike Mathis;

   Plaintiff entered into a settlement agreement with Defendant despite Plaintiff informing

   Defendant’s collector Mike Mathis that Plaintiff cannot afford to pay; Plaintiff agreed to

   settle the debt in full for $525.00; and Plaintiff agreed for the $525.00 payment to be

   withdrawn from Plaintiff’s personal checking account on or about August 26, 2020. (Doc.

   No. 1, ¶ 26a-d); On or about August 18, 2020, Plaintiff answered one of Defendant’s

   collection calls and again, spoke with Defendant’s collector Mike Mathis. (Doc. No. 1, ¶

   27); During the above-referenced conversation, Defendant’s collector Mike Mathis denied


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the existence of Plaintiff’s settlement agreement. (Doc. No. 1, ¶ 28); On or about August

18, 2020, Defendant’s collector Mike Mathis called Plaintiff three additional times. (Doc.

No. 1, ¶ 29); During the above-referenced conversations, Defendant’s collector Mike

Mathis called Plaintiff a “little bitch” and made derogatory remarks about Plaintiff’s

personal health, including calling Plaintiff a “liar” several times in reference to Plaintiff’s

medical conditions. (Doc. No. 1, ¶ 30); On or about August 19, 2020, Plaintiff sent a cease-

and-desist letter to Defendant which also included information regarding the behavior

exhibited by Defendant’s collector Mike Mathis. (Doc. No. 1, ¶ 31); Despite Plaintiff’s

request for Defendant to cease calling him, Defendant continued to place collection calls

to Plaintiff’s telephone unabated. (Doc. No. 1, ¶ 32); On or about August 19, 2020,

Plaintiff also filed a complaint (hereinafter “Complaint”) (File Number: 20200825-20570-

DU) with the New York Secretary of State Division of Consumer Protection regarding the

behavior exhibited by Defendant’s collector Mike Mathis. (Doc. No. 1, ¶ 33); On or about

September 21, 2020, Plaintiff received a letter from the New York Secretary of State. (Doc.

No. 1, ¶ 34); The above-referenced letter included an email (hereinafter “Email”) from

Defendant received by the New York Secretary of State in regard to Plaintiff’s Complaint.

(Doc. No. 1, ¶ 35); The Email indicates that Defendant responded to Plaintiff’s Complaint

and indicates Defendant’s representative Mike Mathis is no longer employed by

Defendant. (Doc. No. 1, ¶ 36); The natural consequences of Defendant’s actions was to

unjustly condemn and vilify Plaintiff for his non-payment of the debt Plaintiff allegedly

owes. (Doc. No. 1, ¶ 37); The natural consequences of Defendant’s actions was to produce

an unpleasant and/or hostile situation between Defendant and Plaintiff. (Doc. No. 1, ¶ 38);

and the natural consequences of Defendant’s actions was to cause Plaintiff mental distress.



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   (Doc. No. 1, ¶ 39).

9. Defendant’s conduct therefore violates the FDCPA as follows:

       a. Defendant violated § 1692c(c) of the FDCPA by continuing to call Plaintiff despite

          receiving Plaintiff’s written cease-and-desist request;

       b. Defendant violated §1692d of the FDCPA by engaging in conduct that the natural

          consequences of which was to harass, oppress, and abuse Plaintiff in connection

          with the collection of an alleged debt, when Defendant’s collector engaged in all

          of the foregoing misconduct, including when he called Plaintiff a liar, used

          profanity, and made derogatory remarks about Plaintiff’s personal health;

       c. Defendant violated § 1692d(2) of the FDCPA by its use of obscene or profane

          language or language the natural consequence of which is to abuse the hearer when

          Defendant’s collector called Plaintiff a liar, used profanity, and made derogatory

          remarks about Plaintiff’s personal health;

       d. Defendant violated § 1692d(5) of the FDCPA by causing a telephone to ring or

          engaging any person in telephone conversation repeatedly or continuously with

          intent to annoy, abuse, or harass any person at the called number when Defendant

          continued to call Plaintiff even after Defendant received Plaintiff’s written cease-

          and-desist request;

       e. Defendant violated § 1692e of the FDCPA by its use of any false, deceptive, or

          misleading representation or means in connection with the collection of any debt

          when Defendant’s collector created the false impression on Plaintiff that Defendant

          was permitted to harass Plaintiff with impunity;

       f. Defendant violated § 1692e(2)(A) of the FDCPA by its false representation of the



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           character, amount, or legal status of any debt when Defendant agreed to a particular

           amount to settle the alleged debt and then reneged on its agreement;

       g. Defendant violated § 1692e(10) of the FDCPA by using any false representation

           or deceptive means to collect or attempt to collect any debt when Defendant created

           the false impression on Plaintiff that Defendant was permitted to harass Plaintiff

           with impunity;

       h. Defendant violated § 1692g(b) of the FDCPA by engaging in collection activities

           that overshadowed or was inconsistent with the disclosure of the consumer’s right

           to dispute the debt when Defendant’s collector pressed Plaintiff for payment of the

           debt despite Plaintiff informing Defendant’s collector Mike Mathis that Plaintiff

           cannot afford to pay; and

       i. Defendant violated § 1692(f) of the FDCPA by using fair or unconscionable means

           in connection with the collection of an alleged debt, when Defendant engaged in

           the foregoing conduct.

10. Defendant’s conduct also therefore violates the ICPA as follows:

11. “[T]he collection of a debt arising out of a sale of goods or services is subject to the

   provisions of the [ICPA.]” In re W. Acceptance Corp., Inc., 788 P.2d 214, 216 (1990).

       a. Defendant violated the ICPA when it called Plaintiff at an annoying and harassing

           rate and even continued to do so after Defendant received Plaintiff’s written cease-

           and-desist request; and

       b. Defendant violated the ICPA by using any unconscionable method, act or practice

           in the conduct of any trade or commerce when Defendant’s collector called

           Plaintiff a liar, used profanity, and made derogatory remarks about Plaintiff’s



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            personal health.

   PLAINTIFF’S REQUEST FOR STATUTORY DAMAGES IS REASONABLE

 12. “Under the third Eitel factor, the court must consider the amount of money at stake in

    relation to the seriousness of Defendant’s conduct.” PepsiCo, Inc. v. Cal Sec. Cans, 238

    F. Supp. 2d at 1176. As demonstrated supra the statutory damages sought by Plaintiff are

    reasonable in light of Defendant’s violations of the FDCPA and ICPA.

 13. The allegations in Plaintiff’s Complaint are admitted as a responsive pleading was required

    and the allegations were not denied. Fed. R. Civ. P. 8(b)(6).

 14. Plaintiff is entitled to receive statutory damages not exceeding $1,000.00 for violation of

    the Fair Debt Collection Practices Act pursuant to 15 U.S.C. § 1692k(a)(2)(A).

 15. Plaintiff is entitled to receive statutory damages of $1,000.00 for violation of the Idaho

    Consumer Protection Act pursuant to Idaho Code § 48-608(1); Fenn v. Noah, 142 Idaho

    775, 779 (2006).

PLAINTIFF’S REQUEST FOR ATTORNEYS’ FEES AND COSTS IS REASONABLE

 16. Plaintiff is entitled to receive the costs of the action, together with a reasonable attorney’s

    fee as determined by the Court pursuant to 15 U.S.C. § 1692k(a)(3) and Idaho Code § 48-

    608(5) and has filed a Motion for Costs of the Action and Attorney’s fees seeking costs in

    the amount of $446.50, together with a reasonable attorney’s fee in the amount of

    $2,206.80. (Attached hereto as Exhibit A).

   PLAINTIFF WILL SUFFER GREAT PREJUDICE IF RELIEF IS DENIED

 17. The fourth Eitel factor to consider is whether Plaintiff would suffer prejudice if he was

    denied default judgment. Here, Plaintiff would be denied judicial resolution and would

    not have any other recourse against Defendant. Cal. Sec. Cans, 238 F. Supp. 2d at 1177.


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   Additionally, Defendant would not have an incentive to correct its behavior, and therefore

   would continue to violate the law in an attempt to collect debts from consumers.

   Therefore, Plaintiff would undoubtedly suffer great prejudice if relief were denied.

       THE POSSIBILITY OF DISPUTED MATERIAL FACTS IS SMALL

18. The fifth Eitel factor focuses on the likelihood of disputed material facts in this case.

   However, “upon entry of default, all well-pleaded facts in the complaint are taken as true,

   except those relating to damages.” Cal. Sec. Cans, 238 F. Supp. at 1177. Thus, because

   the clerk entered an order defaulting Defendant, “no genuine dispute of material facts

   would preclude granting Plaintiff[‘s] [M]otion.” Id.

    DEFAULT LIKELY DID NOT RESULT FROM EXCUSABLE NEGLECT

19. It is highly unlikely that the default here was due to excusable neglect. Defendant was

   served with a Summons and Complaint on November 20, 2020 and Plaintiff accordingly

   filed a Proof of Service. (Doc. No. 3). Defendant subsequently failed to answer or

   otherwise plead by December 11, 2020.         The Clerk of this Honorable Court then

   subsequently entered an order on January 7, 2021 defaulting Defendant pursuant to Fed.

   R. Civ. P 55(a). (Doc. No. 6). Despite being served with the Summons and Complaint on

   its registered agent, Defendant has failed to even acknowledge this lawsuit. Therefore, the

   fourth Eitel factor weighs in favor of default judgment.

               PUBLIC POLICY FAVORS DEFAULT JUDGMENT

20. “Cases should be decided upon their merits whenever reasonably possible.” Eitel, 782

   F.2d at 1472. But “this preference, standing alone, is not dispositive.” Cal. Sec. Cans,

   238 F. Supp. 2d at 1177. Furthermore, “Defendant’s failure to answer Plaintiff[s’]

   Complaint makes a decision on the merits impractical if not impossible. Under FRCP



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       55(a), termination of a case before hearing the merits is allowed whenever a defendant

       fails to defend an action.” Id. Despite continued opportunities, Defendant failed to

       respond to or defend this lawsuit, and therefore, this last Eitel factor favors this Honorable

       Court to enter default judgment against Defendant.

                                          CONCLUSION

       In order for Plaintiff to obtain default judgment against Defendant, Plaintiff must not only

satisfy the requirements of FRCP 55(a), but Plaintiff’s Complaint must also contain uncontested

factual allegations which, taken as true, state a viable cause of action. Here, Plaintiff satisfied the

requirements of FRCP 55(a) and demonstrated that Plaintiff’s Complaint states a strong showing

of relief under the FDCPA and ICPA.             Furthermore, Plaintiff has satisfied the elements

establishing attorneys’ fees pursuant to the FDCPA and ICPA. Therefore, this Honorable Court

should enter default judgment against Defendant in the amount of 4,653.30, representing statutory

damages in the amount of $2,000.00 pursuant to the FDCPA and ICPA, $2,206.80 in attorneys’

fees plus, $446.50 in costs.

       WHEREFORE, Plaintiff requests the following relief:

       a. An entry of an Order of Default Judgment against Defendant in the amount of

           $4,653.30, and




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      b. Any other relief the Court may deem just and proper.



DATED: July 6, 2021
                                          Respectfully submitted,

                                  By:/s/ James J. Parr
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           EXHIBIT A
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Attorney for Plaintiff
Admitted Pro Hac Vice


                       IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF IDAHO

WILLIAM ROSS,                                 )
                                              )
       Plaintiff,                             )
                                              )
       v.                                     )      Case No. 1:20-cv-00527-DCN
                                              )
GREEN SQUARE COMPANY, LLC,                    )
                                              )
       Defendant.                             )

            MOTION FOR COSTS OF THE ACTION AND ATTORNEY’S FEES

       NOW COMES the Plaintiff, WILLIAM ROSS (“Plaintiff”), through counsel, pursuant to

15 U.S.C. § 1692k(a)(3) and Idaho Code § 48-608(5), and moves this Court for entry of an Order

for Costs of the Action and Attorney’s Fees against Defendant, GREEN SQUARE COMPANY,

                                              1
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LLC (“Defendant”) and in support thereof, states as follows:

                                      LEGAL STANDARD

        It is the purpose of the Fair Debt Collection Practices Act (“FDCPA”), 15 U.S.C. § 1692,

et seq. to eliminate abusive debt collection practices by debt collectors and to ensure that those

debt collectors who refrain from using abusive debt collection practices are not competitively

disadvantaged. 15 U.S.C. § 1692a. The reach of the Idaho Consumer Protection Act likewise

includes third-party debt collection practices. In re W. Acceptance Corp., Inc., 117 Idaho 399, 401

(1990). Plaintiffs who prevail under the FDCPA are entitled to an award of costs and reasonable

attorney’s fees. 15 U.S.C. § 1692k(a)(3). Although there is no precise formula for determining a

reasonable fee, courts, including in the Ninth Circuit, employ a two-step process. First, the court

determines the lodestar, which is the reasonable number of hours expended on a case multiplied

by the reasonable hourly rate. Hensley v. Eckerhart, 461 U.S. 424, 433-37, 103 S. Ct. 1933, 76 L.

Ed. 2d 40 (1983); Camacho v. Bridgeport Fin., Inc., 523 F.3d 973, 978 (9th Cir. 2008). “Although

in most cases, the lodestar figure is presumptively a reasonable fee award, the district court may,

if circumstances warrant, adjust the lodestar to account for other factors which are not subsumed

within it.” Camacho v. Bridgeport Fin., Inc., 523 F.3d 973, 978 (9th Cir. 2008) (internal quotation

omitted).

                                 FACTS AND BACKGROUND

       On November 18, 2020, Plaintiff filed a civil action against Defendant seeking redress for

violations of the FDCPA and the ICPA. (Doc. No. 1). Plaintiff seeks $1,000.00 in statutory

damages pursuant to the FDCPA; $1,000.00 in statutory damages pursuant to the ICPA; $2,206.80

in attorney’s fees; and $446.50 in filing fees and service of process costs.

       On November 20, 2020, Defendant was served with the Summons and Complaint and was

                                                  2
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required to (1) appear and/or (2) serve upon Counsel for Plaintiff an answer or responsive pleading

to Plaintiff’s Complaint on or before December 11, 2020. (Doc. No. 3). Pursuant to Federal Rule

of Civil Procedure (“FRCP”) 55(a), on December 15, 2020, Plaintiff filed a Request for Entry of

Default against Defendant. (Doc. No. 4). On January 7, 2021, the Clerk of the Court entered

default against Defendant after finding sufficient cause for such. (Doc. No. 6).

A. PLAINTIFF IS ENTITLED TO MONETARY RELIEF.

       As established in Plaintiff’s Motion for Default Judgment, Plaintiff has adequately

alleged his FDCPA and ICPA claims against Defendant.

       The allegations in Plaintiff’s Complaint are admitted as a responsive pleading was required

and the allegations were not denied. Fed. R. Civ. P. 8(b)(6). Accordingly, Plaintiff is the prevailing

party in this matter and is entitled to statutory damages, costs and attorney’s fees.

B. PLAINTIFF IS ENTITLED TO STATUTORY DAMAGES UNDER THE FDCPA AND ICPA.

       Defendant failed to (1) appear and/or (2) serve upon Counsel for Plaintiff an answer or

responsive pleading to Plaintiff’s Complaint on or before December 11, 2020. Therefore, the

allegations in Plaintiff’s Complaint are admitted as a responsive pleading was required, none was

filed, and the allegations here were not denied. Fed. R. Civ. P. 8(b)(6). As such, Plaintiff is

entitled to receive statutory damages not exceeding $1,000.00 – as sought – for Defendant’s

violations of the FDCPA pursuant to 15 U.S.C. § 1692k(a)(2)(A). Similarly, Plaintiff is entitled

to receive statutory damages of $1,000.00 – as sought – for violation of the Idaho Consumer

Protection Act pursuant to Idaho Code § 48-608(1); Fenn v. Noah, 142 Idaho 775, 779 (2006).




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C. PLAINTIFF IS ENTITLED TO COSTS AND ATTORNEY’S FEES PURSUANT TO THE FDCPA
   AND ICPA.

        15 U.S.C. § 1692k(a)(3) provides “any debt collector who fails to comply with any

provision of [the Fair Debt Collection Practices Act] *** in the case of any successful action to

enforce the foregoing liability, the costs of the action, together with a reasonable attorney’s fee

as determined by the court.” Likewise, pursuant to Idaho Code § 48-608(5), “[c]osts shall be

allowed to the prevailing party unless the court otherwise directs. In any action brought by

a person under this section, the court shall award, in addition to the relief provided in this

section, reasonable attorney’s fees to the plaintiff if he prevails.” Therefore, as the prevailing

party in this lawsuit, Plaintiff is entitled to costs and reasonable attorney’s fees.

D. COSTS OF THE ACTION OF $446.50 ARE NECESSARY AND REASONABLE.

        Rule 54(d)(1) of the Federal Rules of Civil Procedures provides that “[u]nless a federal

statute, these rules, or a court order provides otherwise, costs – other than attorney’s fees – should

be allowed to the prevailing party.” Fed. R. Civ. P. 54(d)(1). The FDCPA also contains a costs

provision: “[I]n the case of any successful action to enforce the foregoing liability, [the defendant

is liable for] the costs of the action.” 15 U.S.C. § 1692k(a)(3). In this case, Plaintiff incurred a

civil filing fee of $400.00. Additionally, Plaintiff incurred service of process costs in the amount

of $46.50. As such, Plaintiff’s costs in the action of $446.50 are necessary and reasonable.

E. ATTORNEY’S FEES OF $2,206.80 ARE REASONABLE.

        The most useful starting point for determining the amount of a reasonable fee is the number

of hours reasonably expended on the litigation multiplied by a reasonable hourly rate, which is the

lodestar method. Hensley, 461 U.S. at 433. In order to encourage able counsel to undertake

FDCPA cases, it is necessary that counsel be awarded fees commensurate with those which they


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could obtain by taking other types of cases. The FDCPA mandates that the recovery of Plaintiff’s

attorney’s fees and costs is integral to the success of the policy goals of the statute. Furthermore,

Congress provided fee shifting to enhance enforcement of important civil rights and consumer-

protection statutes. By providing competitive rates we assure that attorneys will take such cases,

and hence increase the likelihood that the congressional policies of redressing public interest

claims will be vindicated. Counsel for the prevailing party should make a good-faith effort to

exclude from a fee request hours that are excessive, redundant, or otherwise unnecessary. Id. The

court also should exclude from this initial fee calculation hours that were not “reasonably

expended.” Id.

        Here, counsel for Plaintiff seeks fees for 9.90 hours (7.90 hours of attorney time plus 2.00

hours of paralegal time) of services rendered to litigate this matter. Counsel for Plaintiff’s $252.00

per hour rate is reasonable as this is a rate charged by attorneys in the community of similar work

in this area. The United States Consumer Law Survey Report 2017-2018 (“Report”) 1 reports

$281.00 per hour as the average attorney rate and $250.00 per hour as the median attorney rate for

all consumer law attorneys practicing in the Boise, Idaho area. The Report also indicates that the

average attorney hourly rate for an attorney with 6-10 years of experience is $225.00 per hour. 2

The average of these three hourly rates is $252.00 per hour. Likewise, an hourly rate of $108.00

for paralegal time is reasonable pursuant to the Report. As such, Plaintiff’s attorney’s fees of

$2,206.80 are reasonable.          In further support thereof, see attached Counsel for Plaintiff’s




1
  Relevant excerpt attached hereto as Exhibit A-1. Full report available at
https://www.nclc.org/images/pdf/litigation/tools/atty-fee-survey-2017-2018.pdf (last accessed July 6, 2021).
2
  James J. Parr has been licensed and practicing consumer law since November 6, 2014.

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Declaration (Exhibit A-2) and Counsel for Plaintiff’s itemization of service rendered (Exhibit A-

3).

                                         CONCLUSION

       Pursuant to the lodestar method, Plaintiff is entitled to receive costs of the action of $446.50

and reasonable attorney’s fees of $2,206.80.

DATED: July 6, 2021
                                               Respectfully submitted,

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       EXHIBIT A-1
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Idaho, Boise City

                                                                    This Survey
 Average Number of Attorneys in Firm                                     1.62
 Median Years in Practice                                                13.85
 Average Concentration of Practice in Consumer Law                       73.8
 Primary Practice Area                                            Consumer Law
 Secondary Practice Area                                          General Practice
 Average Number of Paralegals in Firm                                     .13
 Last Time Attorney Rate Changed (Average in                             20.28
 Months)
 Average Billable Paralegal Rate                                          108
 Average Attorney Rate for All Attorneys                                  281
 25% Median Attorney Rate for All Attorneys                               225
 Median Attorney Rate for All Attorneys                                   250
 75% Median Attorney Rate for All Attorneys                               306
 95% Median Attorney Rate for All Attorneys                               409



                            Median Rates for Practice Areas


                                                                  Median
 Attorneys Handling Bankruptcy Cases                                225
 Attorneys Handling Class Action Cases                              375
 Attorneys Handling Credit Rights Cases                             313
 Attorneys Handling Mortgage Cases                                  275
 Attorneys Handling Vehicle Cases                                   250
 Attorneys Handling TCPA Cases                                      275
 Attorneys Handling Other Cases                                     313

                    UNITED STATES CONSUMER LAW SURVEY REPORT 2017-2018
                                           276
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                       Experience Variable Table

Years Practicing Consumer Law                Average Attorney Hourly Rate
             <1                                             150
             1-3                                            175
             3-5                                           200
            6-10                                            225
            11-15                                          250
           16-20                                           363
           21-25                                           350
           26-30                                            275
           31-35                                           389
           36-40                                           400
            41+                                            400




             UNITED STATES CONSUMER LAW SURVEY REPORT 2017-2018
                                    277
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       EXHIBIT A-2
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James J. Parr
AGRUSS LAW FIRM, LLC
4809 N. Ravenswood Avenue
Suite 419
Chicago, IL 60640
Tel: 312-224-4695
Fax: 312-253-4451
james@agrusslawfirm.com
IL State Bar #: 6317921
Attorney for Plaintiff
Admitted Pro Hac Vice



                         IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF IDAHO

WILLIAM ROSS,                                        )
                                                     )
        Plaintiff,                                   )
                                                     )
        v.                                           )   Case No. 1:20-cv-00527-DCN
                                                     )
GREEN SQUARE COMPANY, LLC,                           )
                                                     )
        Defendant.                                   )

                             DECLARATION OF JAMES J. PARR

I, James J. Parr, declare and state the following:

   1.    I, James J. Parr, am filing this Declaration in support of Plaintiff’s Motion for Default
         Judgment and Motion for Attorneys’ Fees and Costs. I have personal knowledge of the
         facts stated in my Declaration. The facts stated in my Declaration are true to the best of
         my knowledge. If called as a witness, I would testify to the facts in my Declaration.


                                                     1
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2.   I am an attorney licensed to practice law in the State of Illinois since November 6, 2014.
     I have been continuously licensed in Illinois since November 6, 2014. I am admitted to
     practice in all state courts in Illinois. My Illinois Bar Number is 6317921.

3.   I am also admitted to practice in the following United States District Courts:

       a. Illinois:
                i. Northern District of Illinois: admitted on March 12, 2015.
               ii. Central District of Illinois: admitted on May 11, 2017.
              iii. Southern District of Illinois: admitted on May 3, 2017.

       b. Texas:
              i. Southern District of Texas: admitted on May 11, 2017.
             ii. Northern District of Texas: admitted on May 26, 2020.

       c. Nebraska:
             i. District Court of Nebraska: admitted on October 18, 2017.

       d. Colorado:
             i. District Court of Colorado: admitted on January 6, 2019.

       e. Wisconsin:
             i. Eastern District of Wisconsin: admitted on December 28, 2015.

       f. Indiana:
              i. Northern District of Indiana: admitted on January 31, 2018.

       g. Michigan:
             i. Eastern District of Michigan: admitted on January 4, 2017.

       h. Oklahoma:
             i. Eastern District of Oklahoma: admitted on October 28, 2019.

       i. New York:
             i. Western District of New York: admitted on December 9, 2019.

       j. Missouri:
             i. Eastern District of Missouri: admitted on September 8, 2020.

       k. Tennessee:
             i. Western District of Tennessee (admitted November 9, 2020).

4.   I was awarded $344.50 per hour in Neuman v. Swiftfunds Financial Services, LLC, case
     no. 2:20-cv-00931-RSM (W.D. Wash. Nov. 30, 2020).




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    5.   I was awarded $325.00 per hour in Foley v. International Recovery Partners &
         Associates, LLC, case no. 4:20-cv-00049-BP (W.D. Mo. May 27, 2020).

    6.   I was awarded $311.00 per hour in Luzadder v. Accelerated Servicing Group, LLC, case
         no. 4:19-cv-00268-RP-HCA (S.D. Iowa Sept. 15, 2020).

    7.   I was awarded $275.00 per hour in Hinyub v. AA Recovery Solutions, Inc., case no. 1:20-
         cv-00089-MR-WCM (N.D.N.C. Oct. 3, 2020).

    8.   I have been an associate attorney at Agruss Law Firm, LLC since 2016. Agruss Law
         Firm, LLC, handles consumer rights and personal injury cases.

    9.   I have devoted my practice to consumer litigation and personal injury litigation.
         Regarding my consumer litigation practice, I primarily help people with debt collection
         harassment, 1 robocalls, 2 and credit report problems. 3

    10. Throughout my career, I have settled over 600 consumer rights’ cases.

    11. Since 2014, I have tried two jury trials to verdict and have successfully arbitrated,
        mediated, and pre-tried dozens of cases.

    12. Before becoming an attorney, I worked for approximately 7 years as a paralegal focusing
        nearly exclusively in consumer law areas.

    13. The time entries entered in the Statement of Services attached as Exhibit B represent the
        actual attorney hours spent working on this matter.

    14. Each of these time entries truly and accurately reflect the services performed working on
        this matter.

    15. The time entries were recorded in the ordinary course of business at Agruss Law Firm,
        LLC, by entering each entry into Amicus Attorney, a case management software.

    16. The time entries I recorded in this case were made contemporaneous to the tasks
        performed.

    17. I have reviewed time entries incurred in this case by the paralegal employed by Agruss
        Law Firm, LLC, Jacqueline Laino.

    18. Jacqueline Laino has been employed by Agruss Law Firm, LLC, since March 2015.

    19. I oversaw the work performed in this case by paralegal, Jacqueline Laino.

1 Pursuant to the Fair Debt Collection Practices Act, 15 U.S.C. 1692 et seq. (“FDCPA”).
2 Pursuant to the Telephone Consumer Protection Act, 47 U.S.C. §227, et seq. (“TCPA”).
3 Pursuant to the Fair Credit Reporting Act, 15 U.S.C. § 1681, et seq. (“FCRA”).


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   20. The time incurred on each entry was reasonably and necessarily incurred.

I, James J. Parr, state under oath that my Declaration is true and accurate to the best of my

knowledge and belief. Executed on July 6, 2021, at Chicago, Cook County, Illinois.


DATED: July 6, 2021                        RESPECTFULLY SUBMITTED,

                                    By:/s/ James J. Parr
                                           James J. Parr
                                           IL State Bar #: 6317921
                                           AGRUSS LAW FIRM, LLC
                                           4809 N. Ravenswood Ave.
                                           Suite 419
                                           Chicago, IL 60640
                                           Tel: 312-224-4695
                                           Fax: 312-253-4451
                                           james@agrusslawfirm.com
                                           Attorney for Plaintiff
                                           Admitted Pro Hac Vice




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       EXHIBIT A-3
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Patrick J. Geile
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Idaho State Bar No. 6975
Attorney for Plaintiff

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                     IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF IDAHO

WILLIAM ROSS,                         )
                                      )
      Plaintiff,                      )
                                      )
      v.                              )     Case No. 1:20-cv-00527-DCN
                                      )
GREEN SQUARE COMPANY, LLC,            )
                                      )
      Defendant.                      )

                     PLAINTIFF’S STATEMENT OF SERVICES

Attorney’s Fees
                                    Hours       Rate         Subtotal

James Parr                           7.90       $252.00      $1,990.80

Jackie Laino (paralegal)             2.00       $108.00      $   216.00
                                      1
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              Total Hours/Fees:            9.90                      $ 2,206.80

Costs
        •   Filing fee for Complaint                                 $400.00
        •   Process server for Summons and Complaint                 $ 46.50

                            Total Costs:                             $446.50


                                                  Total Fees and Costs: $2,653.30




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                                                    Agruss Law Firm, LLC
                                                  All Time for Selected File:
                                        William Ross v. Green Square Corporation, LLC

                                                Case No.: 1:20-cv-00527-DCN

Date           Timekeeper                      Task

Jul 6, 2021    Jackie Laino                    Filed Motion for Default Judgment and related documents; mailed same                    0.30
                                               to Defendant.

Jul 6, 2021    James J. Parr                   Prepared Motion for Default Judgment and related documents.                             4.00

Dec 14, 2020   James J. Parr                   Reviewed default documents prepared by Jackie Laino.                                    0.20

Dec 14, 2020   Jackie Laino                    Prepared Application for Default and related documents and emailed to                   1.00
                                               local counsel to file after James J. Parr reviewed.

Dec 13, 2020   James J. Parr                   Reviewed docket for responsive pleadings; email to Jackie Laino to                      0.20
                                               prepare Application for Default.

Nov 24, 2020   Jackie Laino                    Received Proof of Service that Summons and Complaint had been served;                   0.20
                                               emailed same to local counsel to file.

Nov 19, 2020   Jackie Laino                    Hired process server to serve Summons and Complaint.                                    0.20

Nov 18, 2020   James J. Parr                   Emailed filed Complaint and settlement demand to Defendant.                             0.20

Nov 17, 2020   Jackie Laino                    Prepared additional initial filing documents and emailed same with                      0.30
                                               Complaint to local counsel for filing.

Nov 16, 2020   James J. Parr                   Reviewed file; email to Jackie Laino to request that local counsel file case.           0.20


Oct 30, 2020   James J. Parr                   Emailed draft Complaint and pre-suit settlement demand to Defendant.                    0.20


Oct 30, 2020   James J. Parr                   Email correspondence with local counsel.                                                0.20

Oct 23, 2020   James J. Parr                   Email correspondence with client.                                                       0.20

Oct 23, 2020   James J. Parr                   Prepared Complaint; emailed same to local counsel and client to review.                 1.50


Aug 19, 2020   James J. Parr                   Interviewed client to discuss case facts; consulted with client regarding               1.00
                                               underlying debt; discussed communications from Defendant with the
                                               client; prepared an outline of the interview and FDCPA and ICPA
                                               violations; discussed the FDCPA and ICPA with client; prepared outline of
                                               interview on counts to file; prepared our attorney-client agreement;
                                               explained the terms of the agreement with client and payment of our
                                               fees; prepared Amicus to track the case.


                                                                                                                               Total   9.90
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                                     PROOF OF SERVICE


       I, James Parr, state the following:

        I am employed in Chicago, IL. I am over the age of 18 and am not a party to this action.
My business address is 4809 N. Ravenswood Ave, Suite 419 Chicago, IL 60640. On July 6, 2021,
I served the following documents:

PLAINTIFF’S MOTION FOR DEFAULT JUDGMENT

On the parties listed below:


 Green Square Company, LLC
 c/o Corporate Creations Network Inc.
 3411 Silverside Road
 Tatnall Building, Suite 104
 Wilmington, DE 19810


       By the following means of service:

[X]    BY MAIL: I deposited the envelope in the mail via first class mail. The envelope was
       mailed with postage fully prepaid. I am readily familiar with the firm’s practice for
       collection and processing correspondence for mailing. Under that practice, this document
       was deposited with the U.S. Postal Service on this date with postage fully prepaid, in the
       ordinary course of business.

       Executed on July 6, 2021.
                                             By: /s/ James Parr
                                                    James Parr
